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   5
     Attorney for Plaintiff,
   6 MICHAEL RHAMBO
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   8
                           UNITED STATES DISTRICT COURT
   9
                         CENTRAL DISTRICT OF CALIFORNIA
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 11
       MICHAEL RHAMBO,                           Case No.: 2:20-cv-07721-SB-RAO
 12                                              Assigned to Hon. Stanley Blumenfeld
 13               Plaintiff,
           vs.                                   NOTICE OF VOLUNTARY
 14                                              DISMISSAL OF ENTIRE CASE
                                                 WITH PREJUDICE
 15 WELLS FARGO BANK, NATIONAL
    ASSOCIATION; RYAN, LLC; and
 16 DOES 1 to 10,
 17
               Defendants.
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 19
 20        PLEASE TAKE NOTICE that Plaintiff MICHAEL RHAMBO (“Plaintiff”)
 21 pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily
 22 dismisses the entire action with prejudice pursuant to Federal Rule of Civil
 23 Procedure Rule 41(a)(1) which provides in relevant part:
 24        (a) Voluntary Dismissal.
 25               (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2,
 26                      and 66 and any applicable federal statute, the plaintiff may
 27                      dismiss an action without a court order by filing:
 28

                                                              NOTICE OF VOLUNTARY DISMISSAL
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   1                     (i)    A notice of dismissal before the opposing party serves
   2                            either an answer or a motion for summary judgment.
   3 Defendants have neither answered Plaintiff’s Complaint, nor filed a motion for
   4 summary judgment. Accordingly, this matter may be dismissed without an Order of
   5 the Court.
   6        Additionally, Plaintiff requests the Court to retain jurisdiction for Plaintiff to
   7 dismiss the entire action with prejudice for thirty (30) days up until May 02, 2021.
   8
   9
       DATED: April 02, 2021                       SO. CAL EQUAL ACCESS GROUP
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 11
                                                         /s/ Jason J. Kim
 12                                                JASON J. KIM
                                                   Attorney for Plaintiff
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                                                                NOTICE OF VOLUNTARY DISMISSAL
